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 9

10                               UNITED STATES DISTRICT COURT

11                                    DISTRICT OF NEVADA

12   ANGELLI MELIZZA,                            )
                                                 ) Case No.: 2:18-cv-02091-JCM-BNW
13                 Plaintiffs,                   )
                                                 )
14          v.                                   )
                                                 ) JOINT STIPULATION OF DISMISSAL
15                                               )             WITH PREJUDICE
                                                 )
16   CAPITAL ONE BANK (USA) N.A.,                )
                                                 )
17                 Defendant.                    )
                                                 )
18
            Plaintiff ANGELLI MELIZZA (“Plaintiff”) and Defendant CAPITAL ONE BANK
19
     (USA), N.A. (“Defendant”), pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby
20

21
     stipulate to the dismissal of all of Plaintiff’s claims in this action against Defendant WITH

22   PREJUDICE, with each party to bear its own costs and fees.

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                                     [continued on following page]
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                                   JOINT STIPULATION OF DISMISSAL
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 1
           Respectfully submitted the 12th day of August 2019.
 2

 3
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     Ballard Spahr LLP
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     1980 Festival Plaza Drive
     Suite 900
11   Las Vegas, NV 89135
     Attorney for Defendant
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15                                             IT IS SO ORDERED.

16
                                               UNITED STATES DISTRICT JUDGE
17                                                     August 13, 2019
                                               DATED:___________________________
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 1                                  CERTIFICATE OF SERVICE

 2          I certify that on August 12, 2019 a true and correct copy of the foregoing JOINT

 3   STIPULATION OF DISMISSAL was filed using the CM/ECF system, which will provide
 4
     notice to the following:
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                                    JOINT STIPULATION OF DISMISSAL
